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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


UNITED STATES                                 :
                                              :
                                              :          Crim. No. 24-407 (MCA)
                                              :
       v.                                     :
                                              :
                                              :          ORDER
                                              :
QUINTON JOHNSON                               :


       THIS MATTER having come before the Court on the application of the defendant,
Quinton Johnson (by John J. McMahon, Esq.) with the consent of the Government (Assistant
U.S. Attorneys Katherine M. Romano and Jessica R. Ecker appearing), and for good cause
shown,

       IT IS on this 27th of February 2025,

       HEREBY ORDERED that defendant Quinton Johnson’s pretrial motions shall be filed
on or before March 17, 2025, it is

      FURTHER ORDERED that the Government’s response to defendant Quinton
Johnson’s pretrial motions shall be filed on or before April 17, 2025, and it is

        FURTHER ORDERED that defendant Quinton Johnson’s reply in support of his
pretrial motions shall be filed on or before May 1, 2025.


                                                   ___________________________
                                                   Honorable Madeline Cox Arleo
                                                   United States District Judge
